FROM ORANGE.
A verdict being returned for the plaintiff, the defendant moved in arrest of judgment —
1. Because the warrant did not state as a fact the existence of the ordinance mentioned in it — nor the contents of such ordinance, or any part thereof.
2. Because the warrant did not allege any act or omission of the defendant, by which any penalty given by the ordinance had been incurred, or any other fact upon which the debt demanded in it    (2) had arisen.
For these reasons the presiding judge arrested the judgment, and the plaintiff appealed.
It cannot be expected that the cause of action should have been set forth at large in the warrant. "The amount claimed, and how due" is shown. It is stated to be for ten dollars' for violating the 28th section of the ordinances of said town. This is enough, I think, to give the defendant notice of what the complaint was, so that he might have been prepared for trial; on the trial he should be at liberty to prove the ordinance, as well as a breach of it, by the defendant.
PER CURIAM.      Reversed, and judgment entered for plaintiff.
Cited: S. v. Merritt, 33 N.C. 678.